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                       MILITARY COMMISSIONS TRIAL JUDICIARY,
                              GUANTANAMO BAY, CUBA

        UNITED STATES OF AMERICA

                        v.                                  (U) AE628RRRRR (AAA)
                                                               CORRECTED COPY*
   KHALID SHAIKH MOHAMMAD, WALID
    MUHAMMAD SALIH MUBARAK BIN
    ‘ATTASH, RAMZI BIN AL SHIBH, ALI                       (U) Defense Notice of Exhibits
    ABDUL-AZIZ ALI, MUSTAFA AHMED
          ADAM AL HAWSAWI                                        (U) 29 January 2020

    (U) 1. The attached exhibits are submitted in support of the evidentiary hearing in the AE628

    series.

    (U) 2. Attachments:

        A. (U) Certificate of Service (U)


        B. (U) AAA-RDI-007076 – AAA-RDI-007089 (U)
        C. (U) MEA-2C-00000428 – MEA-2C-00000491 (U//FOUO)
           (U) MEA-2C-00001034 – MEA-2C-00001035 (U//FOUO)
           (U) MEA-2C-00001472 (U//FOUO)
        D. (U) MEA-STA-00001824 – MEA-STA00001826 (U//FOUO)

        E. (U) MEA-JDM-00000074 - MEA-JDM-00000079 (U//FOUO)
           (U) MEA-JDM-00000297 - MEA-JDM-00000300 (U//FOUO)
           (U) MEA-JDM-00000338 - MEA-JDM-00000340 (U//FOUO)




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* Corrected copy is submitted to remove a page that the government inadvertently produced.

                        FOR OFFICIAL USE ONLY ATTACHMENTS
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(U) Very Respectfully,

(U) //s//                                   (U) //s//
    JAMES G. CONNELL, III                       STERLING R. THOMAS,
    Learned Counsel                             Lt Col, USAF
                                                Defense Counsel

(U) //s//                                   (U) //s//
    ALKA PRADHAN                                BENJAMIN R. FARLEY
    Defense Counsel                             Defense Counsel

(U) //s//
    MARK E. ANDREU
    Capt, USAF
    Defense Counsel


(U) Counsel for Mr. al Baluchi




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                         FOR OFFICIAL USE ONLY ATTACHMENTS
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                   (U) Attachment C
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